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 4
   Attorney for Defendant
 5 THANG QUOC BUI
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,             )                No. CR S 05 0542 GEB
                                         )
10               Plaintiff,              )                STIPULATION AND ORDER
                                         )                CONTINUING STATUS CONFERENCE
11         v.                            )                AND EXCLUDING TIME
                                         )
12   THANG QUOC BUI, et al.,             )
                                         )
13               Defendants.             )
     ____________________________________)
14
            It is hereby stipulated and agreed to between the United States of America by and through
15
     Matthew C. Stegman, Assistant United States Attorney; defendant, TRI HUU BUI, by and
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     through his counsel, Scott L. Tedmon; defendant, MICHELLE CHAUN GOC LE, by and
17
     through her counsel, Mark Bledstein; defendant, NAM GIA PHAMTRAN, by and through his
18
     counsel, Alex Kessel; defendant, THANG QUOC BUI, by and through his counsel, Tim
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     Warriner; and defendant TUNG THANH HUYNH, by and through his counsel, Matthew C.
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     Bockmon, Assistant Federal Defender, that the status conference presently set for March 12,
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     2010, be continued to April 23, 2010. All counsel continue to require additional time to engage
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     in plea negotiations and to conduct legal research and investigation concerning possible plea.
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            It is further stipulated that the period of time from March 12, 2010 through and including
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     April 23, 2010, be excluded in computing the time within which trial must commence under the
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     Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for continuity
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     and preparation of counsel, and 18 U.S.C. § 3161(h)(7)(B)(ii) and Local Code T2 for complexity.
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28                                                   1
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 1 DATED: March 11, 2010          /s/ Tim Warriner
                                  Attorney for Defendant, THANG QUOC BUI
 2
                                  /s/ Matthew C. Bockmon, Assistant Federal Defender
 3                                Attorney for Defendant, TUNG THANH HUYNH
 4                                /s/ Scott L. Tedmon
                                  Attorney for Defendant, TRI HUU BUI
 5
                                  /s/ Mark Bledstein
 6                                Attorney for Defendant, MICHELLE CHAUN GOC LE
 7                                /s/ Alex Robert Kessel
                                  Attorney for Defendant, NAM GIA PHAMTRAN
 8
     DATED: March 11, 2010        /s/ Matthew C. Stegman, Assistant United States Attorney
 9
10
                                        ORDER
11
           IT IS SO ORDERED.
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13 Dated: March 15, 2010
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15                                   GARLAND E. BURRELL, JR.
                                     United States District Judge
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